Case 2:20-cv-00041-DCLC-CRW    Document 105    Filed 09/27/24   Page 1 of 10
                              PageID #: 3499
Case 2:20-cv-00041-DCLC-CRW    Document 105    Filed 09/27/24   Page 2 of 10
                              PageID #: 3500
Case 2:20-cv-00041-DCLC-CRW    Document 105    Filed 09/27/24   Page 3 of 10
                              PageID #: 3501
Case 2:20-cv-00041-DCLC-CRW    Document 105    Filed 09/27/24   Page 4 of 10
                              PageID #: 3502
Case 2:20-cv-00041-DCLC-CRW    Document 105    Filed 09/27/24   Page 5 of 10
                              PageID #: 3503
Case 2:20-cv-00041-DCLC-CRW    Document 105    Filed 09/27/24   Page 6 of 10
                              PageID #: 3504
Case 2:20-cv-00041-DCLC-CRW    Document 105    Filed 09/27/24   Page 7 of 10
                              PageID #: 3505
Case 2:20-cv-00041-DCLC-CRW    Document 105    Filed 09/27/24   Page 8 of 10
                              PageID #: 3506
Case 2:20-cv-00041-DCLC-CRW    Document 105    Filed 09/27/24   Page 9 of 10
                              PageID #: 3507
Case 2:20-cv-00041-DCLC-CRW    Document 105    Filed 09/27/24   Page 10 of 10
                              PageID #: 3508
